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                         Case No.     2:18-cr-36 U.S. v. Zanaba Manet
                                                NOTICE TO COUNSEL

       Before proceeding with the scheduled motions hearing in this case, the Court directs counsel for the parties
to answer the following inquires.

       1.      Have all of your pretrial motions been satisfied or otherwise resolved?     Yes

       2.      Please list any unresolved motions which required a ruling by the court and indicate whether
               argument is requested and/or whether an evidentiary hearing is required. Any motion which is not
               listed will be dismissed as moot.

       3.       If a hearing is not required, please indicate so and return.
                                                                                                 Evidentiary
                Nature of Motion                                               Argument          Hearing
                                                                               Requested         Required

(1)

(2)

(3)

(4)

(5)

(6)

(7)

(8)

(9)

(10)

(11)

(12)

            /s/ Adrienne Browning
                                                                                   December 10, 2018
                Signature of Attorney                                     Counsel for: Zanaba Manet
       2:18-cr-36
BY DIRECTION OF THE COURT: E-FILE this document on or before noon,                   December 10, 2018


                                                                               Kim Mixon
                                                                               Courtroom Deputy Clerk
                                                                               801 Gloucester Street
                                                                               Brunswick, Georgia 31521
